Case 1:19-mj-00870-SAG Document 3 Filed 03/26/19 Page 1 of 8

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MARYLAND
IN THE MATTER OF THE No. `
ADMINISTRATIVE INSPECTION OF /q " Qr?O ' gm (/`/
TURNING POINT CLINIC
2401 East North Avenue,
BALTIMDRE, MD 21213-0000

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APPLICATION AND AFFIDAVIT FOR ADMINISTRATIVE
WRRRANT UNDER THE CONTROLLED SUBSTANCES ACT, 21 U.S.C. § BBO(d}

1. This affidavit seeks an administrative inspection
warrant, pursuant to 21 U.S.C. §§ 880 et seq., of the current place
of business of TURNING POINT CLINIC, which is located at 2401 East
North Avenue, Baltimore, MD 21213-0000. Pursuant to 21 U.S.C. §
BBO(b){l), the purpose of' this inspection is to verify the
correctness of controlled substance inventories, records, reports,
and other documents required to be kept under the Controlled
Substances Act, 21 U.S.C. §§ 801 et seq. and to protect the public
health and safety.

2. 21 U.S.C. § 880(d)(1) provides:

Any judge of the United States or of a State court
of record, or any United States magistrate judge, may,
within his territorial jurisdiction, and upon proper
oath or affirmation showing probable cause, issue
warrants for the purpose of conducting administrative
inspections authorized by this subchapter or regulations
thereunder, and seizures of property appropriate to such
inspections. For the purposes of this section, the term
“probable cause” means a valid public interest in the
effective enforcement of this subchapter or regulations
thereunder sufficient to justify administrative
inspections of the area, premises, building, or
conveyance,r or contents thereof, in the circumstances
specified in the application for the warrant.

Case 1:19-mj-00870-SAG Document 3 Filed 03/26/19 Page 2 of 8

Based on the facts set forth as follows, I believe there is
probable cause for the requested warrant.

3. That the Affiant, Sabrina M. Wynn, is a duly appointed
Diversion Investigator of the Drug bnforcement` Administration
(DEA), United States Department of Justice, assigned to the
Baltimore District Office.

4, That in March 2010, the Affiant was hired by the DEA,
and during her employment with the DEA, she has participated in
the service of administrative inspection warrants. Your Affiant
has also received training in the manufacture, distribution and
dispensation of Pharmaceutical Controlled Substances, and the
corresponding records and inventories that are required pursuant
to the Comprehensive Drug Abuse Prevention and Control Act of 1970
{Public Law 91-513).

5. That pursuant to 21 U.S.C. § 878(a}(2} and §
880(b)(1},(2) and (3), and 21 Code of Federal Regulations (C.F.R.)
Appendix to Subpart R, your Affiant is authorized to execute
Administrative Inspection Warrants for the purpose of inspecting
controlled premises of persons and firms registered under the
Controlled Substances Act, in order to inspect and verify the
correctness of all records, reports and other documents required
to be kept or made under 21 U.S.C. § 827r and 21 C.F.R. § 1304.01.
Specifically, the Controlled Substances Act authorizes the DEA to

conduct administrative inspections to: (1) inspect and copy

Case 1:19-mj-OO870-SAG Document 3 Filed 03/26/19 Page 3 of 8

records, reports, and other documents required to be kept or made
under the Controlled Substances Act; and (2) inspect the controlled
premises¢ all pertinent equipment, drugs, and other substances or
materials, containers, and labeling found. therein (including
records, files, papers, processes, controls, and facilities)
appropriate for verification of the records, reports and
documents, or otherwise bearing on the provisions of the Controlled
Substances Act; and (3) inventory the stock of any controlled
substance and obtain samples of such substance. rSee 21 U.S.C §
BBO(b)(B).

6. That TURNING POINT CLINIC is registered under the
provisions of the Controlled Substances Act, 21 U.S.C. § 822 and
§ 823 et seq., as a Narcotic Treatment Program, has been assigned
DEA Registration Number RT0299633, authorized to handle Schedules
II-Ill, and is conducting business at 2401 East North, Baltimore,
'MD 21213-0000. TURNING POINT CLINIC is authorized to dispense
Methadone, which is a Schedule' 11 controlled substance, and
Suboxone, which is a Schedule III controlled substance.

?. That the said place of business located at 2401 East
North, Baltimore, MD 21213-0000 is a controlled premise within the
meaning of 21 U.S.C. § 880(a)(1) and (2), and 21 C.F.R. §
13l6.02(c)(l) and (2). As such, TURNING POINT CLINIC is required
to keep complete and accurate records of all controlled substances

received, sold, prescribed, dispensed, purchased,r delivered or

Case 1:19-mj-OO870-SAG Document 3 Filed 03/26/19 Page 4 of 8

otherwise disposed of pursuant to 21 U.S.C. § 827 and 21 C.F.R. §§
1304.01 et seq. on the controlled premises, and the inspection of
the controlled premises is designed to ensure compliance with the
aforementioned Controlled Substances Act and its regulations.l

8. That your Affiant has examined the files and records of
DEA and has determined that there is a need to conduct an in-depth
accountability audit due to the last three onsite accountability
audits conducted on August 10, 2017, January 31, 2018, and May 23,
2018, which resulted in Methadone and Suboxone discrepancies. The
August 2017 audit showed an overage of 33 1,000 mL bottles of
methadone. An. overage is a. dispensed. amount of a. controlled
substance greater than the amount that was purchased by the
facility. The January 2018 audit showed an overage of 46 1,000 mL
bottles of Methadone. The May 2018 audit showed an overage of 27

1,000 mL bottles of Methadone, an overage of 8 films of a 2 mg

 

l The Controlled Substances Act provides for the inspection of
items such as records, files and papers,r the maintenance of which
is not required under the Controlled Substances Act, but which is
appropriate for the verification of the requirements of the
Controlled Substances Act. 21 U.S.C. § 880(b)(3)(B). Although
the Controlled Substances Act does not explicitly provide for
copying of items listed under 21 U.S.C. § 880(b)(3)(B), the Affiant
requests that the Court authorize the copying (and seizure if
necessary for the purpose of copying} such items in order to
appropriately verify the records that are required to be kept under
21 U.S.C. § 880(b){3)(A). Further, if the relevant items are to
be copied at the same time, it will allow DEA to more quickly,
efficiently, and thoroughly inspect the registered premises, and
minimize disruption of pharmacy business.

Case 1:19-mj-OO870-SAG Document 3 Filed 03/26/19 Page 5 of 8

dose/film of Suboxone, and a shortage of 2 films of 8 mg dose/film
of Suboxone. A shortage is a dispensed amount of a controlled
substance that is less than the amount purchased or otherwise
accounted for by the facility. At the time of the May 2018 audit,
TURNING POINT CLINIC had only been dispensing Suboxone for
approximately one month.

9. 'It is unlawful under 21 U.S.C. § 842(a)(5) for any person
“to refuse or negligently fail to make, keep, or furnish any
record” that the person is required to keep under the Controlled
Substances Act. Record keeping that demonstrates either shortages
or overages of controlled substances can constitute record keeping
violations of the Controlled Substances Act. See United States v.
Little, 59 F.Supp.2d 177, 185 (D. Mass. 1999).

10. That your Affiant further states that in view of the
foregoing' circumstances, the inspection herein applied for is
requested for the purpose of protecting the public health and
safety, and results from a valid public interest in the effective
enforcement of the Controlled- Substance Act and implementing
regulations.

11. The Affiant further states that the inspection will be
conducted during regular business hours, and that the
lnvestigator's credentials will be presented to the registranti
and that the inspection will begin as soon as practicable after

the issuance of the warrant and will be completed with reasonable

Case 1:19-mj-OO870-SAG Document 3 Filed 03/26/19 Page 6 of 8

promptness and that the warrant will be returned within ten {10)
days.

12. The Affiant further states, pursuant to 21 U.S.C. § 827,
and 21 U.S.C. § 880(b)(3)(A), the inspection will extend to the
inspection and copying of inventories {perpetual and biennial),
records, reports, prescriptions, order forms, invoices, files (to'
include electronically stored or computerized records and files),
and other documents required to be kept, and to the inspection of
all other things herein, including records, files, and. paper
appropriate for verifying the` records, reports, and documents
required to be kept under the Controlled Substances Act, including
ordered material drug lists of supplies and suppliers, DEA Form
2225, prescriptions, and computerized records of purchase and
distribution.

13. The Affiant further states that, pursuant to 21 U.S.C.
§ 880(b)(3)(B), the inspection will extend to the inspection and
copying (where applicable and if authorized) of the controlled
premises, equipment, drugs, containers, and labelingr and all
other things therein including records, files and papers,
processes, controls, and facilities appropriate for the
verification of the Controlled Substances Act such as written and
electronic correspondence regarding maintenance of inventories,
theft or loss reports, communications related to TURNING PGINT

CLINIC's compliance with the Controlled Substances Act, written

Case 1:19-mj-OO870-SAG Document 3 Filed 03/26/19 Page 7 of 8

policies procedures and training regarding maintenance of
inventoriesr perpetual inventories, biennial inventories, internal
audits, and manuals or written material- describing computer
programs or other procedures used. by TURNING POINT CLINIC to
maintain inventories of controlled substances appropriate for the
verification of the records, reports, and documents required to be
kept under the Controlled Substances Act.

14. The Affiant will be accompanied by one or more
Investigators who are employees of the Attorney General authorized
to conduct administrative inspections and one or more DEA Diversion
Task Force Officers assigned to the Baltimore District Tactical
Diversion Squad. A return will be made to this Magistrate upon
the completion of the inspection. The Affiant further states that
she has verified and has knowledge of the facts alleged in this

affidavit, and that they are true to the best of her knowledge.

***Signatures on the following page***

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Case 1:19-mj-OO870-SAG Document 3 Fl|ed 03/26/19 Page 8 of 8

    

liversion Investigator
Drug Enforcement Administration

Sworn to before me and s scribed
In my presence on this day of
March E`f 20195

United States magistrate Judge

United States District Court
For the District§of Maryland
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